Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ameridian Industries LLC

2.   All other names debtor
     used in the last 8 years     DBA Pacific Torque
     Include any assumed          DBA Orion Equipment
     names, trade names and       FDBA Pacific Torque LLC
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  18060 Des Moines Memorial Drive S
                                  Seattle, WA 98148-1950
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.pacifictorque.com | www.orion-equip.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 20-12550-CMA                   Doc 1       Filed 10/08/20            Ent. 10/08/20 07:25:42                Pg. 1 of 17
Debtor    Ameridian Industries LLC                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                 Case 20-12550-CMA                       Doc 1      Filed 10/08/20             Ent. 10/08/20 07:25:42                    Pg. 2 of 17
Debtor   Ameridian Industries LLC                                                                  Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 20-12550-CMA                      Doc 1      Filed 10/08/20            Ent. 10/08/20 07:25:42                   Pg. 3 of 17
Debtor    Ameridian Industries LLC                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 8, 2020
                                                  MM / DD / YYYY


                             X   /s/ Allan Van Ruiter                                                     Allan Van Ruiter
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President & CEO




18. Signature of attorney    X   /s/ Armand J. Kornfeld                                                    Date October 8, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Armand J. Kornfeld
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (206) 292-2110                Email address      jkornfeld@bskd.com

                                 WSBA 17214 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                 Case 20-12550-CMA                  Doc 1        Filed 10/08/20             Ent. 10/08/20 07:25:42                 Pg. 4 of 17
 Fill in this information to identify the case:
 Debtor name Ameridian Industries LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ARAMARK                                                         uniform services                                                                                             $333.36
 UNIFORM                         ca_cas4@uniform.
 SERVICES, INC.                  aramark.com
 C/O AUS WEST                    Fax: (781) 423-9088
 LOCKBOX
 PO Box 101179
 Pasadena, CA
 91189-1179
 BATEMAN                         Mark Vandenberg                 trade debt                                                                                                 $2,861.20
 MANUFACTURING                                                   (equipment)
 5 Winstar Road                  mark@batemanma
 Oro Medonte, ON                 nufacturing.com
 L0L 2L0                         Fax: (705) 487-5290
 CANADA
 CONSTR. EQUIP.                                                  sales and                                                                                                  $1,350.00
 GUIDE                                                           marketing
 470 Maryland Drive              Ph: (800) 523-2200
 Fort Washington,
 PA 19034
 DARTCO                          JR Sellars                      trade debt (parts)                                                                                         $1,545.46
 TRANSMISSIONS
 INC.                            jrsellars@dartcotra
 PO Box 2384                     nsmission.com
 Indianapolis, IN                Fax: (714) 237-0911
 46206
 DEPARTMENT OF                   Karen Bassi                     excise tax                                                                                             $174,683.68
 REVENUE
 Compliance Division             karenb@dor.wa.go
 - Kent                          v
 20819 72nd Ave. S.,             Fax: (425) 656-5157
 Suite 680
 Kent, WA
 98032-2391




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                    Case 20-12550-CMA                          Doc 1       Filed 10/08/20             Ent. 10/08/20 07:25:42                         Pg. 5 of 17
 Debtor    Ameridian Industries LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 DRIVELINES N.W.                 David Lee                       trade debt (parts                                                                                          $1,028.34
 INC.                                                            and services)
 3116 First Hill                 dlee@drivelinesnw
 Avenue                          .com
 Everett, WA                     Fax: (425) 259-5973
 98201-4519
 FEDEX FREIGHT                                                   freight shipping                                                                                           $1,567.72
 P.O. Box 10306                  Fax: (870) 365-4354
 Palatine, IL                    Ph: (870) 741-9000
 60055-0306
 INDECO NORTH                    Michael Fischer                 trade debt (tools                                                                                          $5,284.34
 AMERICA, INC.                                                   and equipment)
 PO Box 0393                     mfischer@indeco-b
 Bridgeport, CT                  reakers.com
 06601-0393                      Fax: (203) 713-1040
 INTEGRATED                      Chris Faist         professional                                                                                                           $1,025.15
 COMPUTER                                            services (IT
 SYSTEMS                         info@ics-support.c support)
 SUPPORT, INC.                   om
 8531 154th Avenue               Fax: (425) 820-6420
 NE
 Suite 110
 Redmond, WA
 98052-6296
 JUBITZ FLEET                    Janvier                         trade debt (parts)                                                                                         $3,042.15
 SERVICES
 PO Box 11251       jubitz.cs@jubitz.co
 Portland, OR 97211 m
                    (503) 283-1111 ext.
                    4394
 KOBELCO            Brad Hargrave       trade debt (parts                                                                                                               $205,256.58
 CONSTRUCTION                           and machinery)
 MACHINERY U.S.A. brad.hargrave@ko
 INC.               belco.com
 4690 World Houston Fax: (281) 372-6529
 Parkway
 Houston, TX 77032
 LIEBHERR MINING                        equipment                                                                                                                       $148,910.99
 & CONSTRUCTION lus-accountsreceiv
 EQUIPMENT, INC.    able@liebherr.com
 4100 Chestnut      Fax: (757) 928-8770
 Avenue
 Newport News, VA
 23607
 MACHINERY                              sales and                                                                                                                           $1,180.00
 TRADER                                 marketing
 PO Box 85673       Ph: (800) 247-4898
 Lincoln, NE
 68501-5673
 NAPA AUTO PARTS                        trade debt (parts)                                                                                                                  $1,698.31
 FILE 56893         Fax: (770) 449-8817
 Los Angeles, CA    Fax: (425) 251-9298
 90074-6893

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                    Case 20-12550-CMA                          Doc 1       Filed 10/08/20             Ent. 10/08/20 07:25:42                         Pg. 6 of 17
 Debtor    Ameridian Industries LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 PACIFIC POWER                   Cindee Gannon                   trade debt (parts)                                                                                           $390.72
 GROUP, LLC
 PO Box 748720                   cgannon@schwab
 Los Angeles, CA                 e.com
 90074-8720                      Fax: (360) 887-7401
 REDMOND HEAVY                   Will Clark          professional                                                                                                           $1,765.00
 HAULING, LLC                                        services
 PO Box 672                      Fax: (541) 447-2190
 Prineville, OR 97754            Ph: (541) 447-5643
 SUTTON TRUCKING                 Mike Harford        professional                                                                                                           $4,750.00
 LLC                                                 services
 24300 Pacific Hwy.              mike@mwsutton.c
 S.                              om
 Kent, WA 98032                  Ph: (503) 255-7900
 TLC TOWING &                    Chris Rivers        towing and                                                                                                             $1,765.00
 RECOVERY, INC.                                      recovery
 4545 S. 11th Way                tlctowing@qwestof
 Ridgefield, WA                  fice.net
 98642                           Fax: (360) 887-9159
 WASTE                           Patrick Shea        solid waste                                                                                                              $454.18
 CONNECTIONS OF                                      collection,
 WA                              lisaw@wcnx.org      transfer, and
 Vancouver District              Ph: (866) 892-9269 disposal
 #2010
 PO Box 7428
 Pasadena, CA
 91109-7428
 XTREME                          Carlos Partida                  pressure washing                                                                                             $390.00
 PRESSURE WASH                                                   services
 5600 Mount Solo Rd.
 Unit 52                         Ph: (360) 607-3518
 Longview, WA
 98632




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                        US ATTORNEY
                        ATTN BANKRUPTCY ASSISTANT
                        700 STEWART STREET
                        ROOM 5220
                        SEATTLE, WA 98101-4438


                        INTERNAL REVENUE SVC (PHIL)
                        CENTALIZED INSOL OPERATIONS
                        PO BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        US TREASURY
                        SECRETARY OF THE TREASURY
                        1500 PENNSYLVANIA AVE NW
                        WASHINGTON, DC 20220


                        WA DEPT OF REV-SEA
                        BANKRUPTCY/CLAIMS UNIT
                        2101 4TH AVE #1400
                        SEATTLE, WA 98121-2300


                        WA DEPT OF L&I-OLY
                        COLLECTIONS
                        PO BOX 44171
                        OLYMPIA, WA 98504-4171


                        WA DEPT OF EMP SEC-OLY
                        UI TAX ADMIN
                        PO BOX 9046
                        OLYMPIA, WA 98507-9046


                        WA ATTORNEY GENERAL
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 5TH AVE #2000
                        SEATTLE, WA 98104


                        ARMAND J. KORNFELD
                        BUSH KORNFELD LLP
                        601 UNION ST., SUITE 5000
                        SEATTLE, WA 98101-2373


                        AMERIDIAN INDUSTRIES LLC
                        18060 DES MOINES MEMORIAL DRIVE S
                        SEATTLE, WA 98148-1950




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                    ARAMARK UNIFORM SERVICES
                    5880 NOLENSVILLE PIKE
                    NASHVILLE, TN 37211-6502


                    ARAMARK UNIFORM SERVICES, INC.
                    C/O AUS WEST LOCKBOX
                    PO BOX 101179
                    PASADENA, CA 91189-1179


                    ASSOCIATED PETROLEUM
                        PRODUCTS, INC.
                    PO BOX 34600
                    SEATTLE, WA 98124-1600


                    ASSOCIATED PETROLEUM
                       PRODUCTS, INC.
                    2320 MILWAUKEE WAY
                    TACOMA, WA 98421-2710


                    BANK OF THE WEST
                    180 MONTGOMERY STREET
                    25TH FLOOR
                    SAN FRANCISCO, CA 94104


                    BANK OF THE WEST
                    2527 CAMINO RAMON
                    SAN RAMON, CA 94583


                    BANK OF THE WEST
                    C/O DEBORAH CRABBE
                    FOSTER GARVEY
                    1111 THIRD AVENUE
                    SEATTLE, WA 98101


                    BANK OF THE WEST
                       EQUIPMENT FINANCE
                    12677 ALCOSTA BLVD., SUITE 200
                    NC-B15-2H-K
                    SAN RAMON, CA 94583


                    BATEMAN MANUFACTURING
                    5 WINSTAR ROAD
                    ORO MEDONTE, ON L0L 2L0
                    CANADA




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                    BELL TRUCKS AMERICA, INC.
                    8111 MILLS ROAD
                    HOUSTON, TX 77064


                    BOKF, N.A. D/B/A BANK OF TEXAS
                    1401 MCKINNEY STREET
                    SUITE 1000
                    HOUSTON, TX 77010


                    BOKF, N.A. D/B/A BANK OF TEXAS
                    C/O ED MCQUEEN
                    BELL NUNNALLY
                    2323 ROSS AVENUE
                    DALLAS, TX 75201


                    BOKF, N.A. D/B/A BANK OF TEXAS
                    PO BOX 29775
                    DALLAS, TX 75229-9775


                    BOSTEC, INC.
                    PO BOX 486
                    LYNDEN, WA 98264


                    BOSTEC, INC.
                    8112 GUIDE MERIDIAN RD.
                    LYNDEN, WA 98264-9421


                    CINTAS CORPORATION
                    6800 CINTAS BLVD.
                    MASON, OH 45040


                    CONSTR. EQUIP. GUIDE
                    470 MARYLAND DRIVE
                    FORT WASHINGTON, PA 19034


                    CRAIG MANUFACTURING LTD.
                    96 MCLEAN AVENUE
                    WEBSTER, NB E7P 2K5
                    CANADA


                    CRATE TECH
                    2582 MOMENTUM PLACE
                    CHICAGO, IL 60689-5325




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                    CRYSTAL SPRINGS
                    PO BOX 660579
                    DALLAS, TX 75266-0579


                    CUMMINS INC.
                    500 JACKSON STREET
                    COLUMBUS, IN 47201


                    CUMMINS NORTHWEST LLC
                    LOCKBOX 138324
                    PO BOX 398324
                    SAN FRANCISCO, CA 94139


                    D.O.C.K. MANAGEMENT, INC.
                    11800 124TH AVENUE NE
                    KIRKLAND, WA 98034


                    DARTCO TRANSMISSIONS INC.
                    PO BOX 2384
                    INDIANAPOLIS, IN 46206


                    DARTCO TRANSMISSIONS INC.
                    4390 N. LONG ROAD
                    COLUMBUS, IN 47203


                    DEPARTMENT OF REVENUE
                    COMPLIANCE DIVISION - KENT
                    20819 72ND AVE. S., SUITE 680
                    KENT, WA 98032-2391


                    DEPARTMENT OF REVENUE
                    TREASURY MANAGEMENT
                    PO BOX 47464
                    OLYMPIA, WA 98504-7464


                    DEUTSCHE LEASING USA, INC.
                    190 S. LASALLE STREET
                    SUITE 2150
                    CHICAGO, IL 60603


                    DEUTSCHE LEASING USA, INC.
                    C/O UNIVERSAL REGISTERED AGENT
                    524 2ND STREET
                    SUITE 505
                    SPRINGFIELD, IL 62701



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                    DMK PROPERTIES, LLC
                    ATTN: GENE T. NELSEN
                    1907 NW 111TH STREET
                    VANCOUVER, WA 98685


                    DRIVELINES N.W. INC.
                    3116 FIRST HILL AVENUE
                    EVERETT, WA 98201-4519


                    FEDEX
                    P.O. BOX 94515
                    PALATINE, IL 60094-4515


                    FEDEX FREIGHT
                    P.O. BOX 10306
                    PALATINE, IL 60055-0306


                    FEDEX FREIGHT
                    2200 FORWARD DRIVE
                    HARRISON, AR 72601


                    FORD MOTOR CREDIT COMPANY
                    DEPT. 194101
                    PO BOX 55000
                    DETROIT, MI 48255-1941


                    FORD MOTOR CREDIT COMPANY
                    C/O THE CORPORATION COMPANY
                    40600 ANN ARBOR ROAD
                    SUITE 201
                    PLYMOUTH, MI 48170


                    GRAINGER, INC.
                    PO BOX 419267
                    KANSAS CITY, MO 64141-6267


                    HAMILTON ENGINE, LLC
                    5540 NE COLUMBIA BLVD.
                    PORTLAND, OR 97218


                    HI-STRENGTH BOLT COMPANY
                    21257 84TH AVENUE S
                    KENT, WA 98032




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                    INDECO NORTH AMERICA, INC.
                    PO BOX 0393
                    BRIDGEPORT, CT 06601-0393


                    INTEGRATED COMPUTER SYSTEMS
                       SUPPORT, INC.
                    8531 154TH AVENUE NE
                    SUITE 110
                    REDMOND, WA 98052-6296


                    JUBITZ FLEET SERVICES
                    PO BOX 11251
                    PORTLAND, OR 97211


                    JUBITZ FLEET SERVICES
                    33 NE MIDDLEFIELD ROAD
                    PORTLAND, OR 97211


                    KING COUNTY TREASURY
                    500 FOURTH AVENUE
                    ROOM 600
                    SEATTLE, WA 98104-2340


                    KOBELCO CONSTR. MACH. USA INC.
                    C/O CORPORATION SERVICE CO.
                    211 E. 7TH STREET
                    SUITE 620
                    AUSTIN, TX 78701


                    KOBELCO CONSTR. MACH. USA INC.
                    4690 WORLD HOUSTON PARKWAY
                    HOUSTON, TX 77032


                    KOBELCO CONSTRUCTION
                       MACHINERY U.S.A. INC.
                    4690 WORLD HOUSTON PARKWAY
                    HOUSTON, TX 77032


                    LIEBHERR CONSTR. EQUIP. CO.
                    4100 CHESTNUT AVENUE
                    NEWPORT NEWS, VA 23607


                    LIEBHERR MINING & CONSTRUCTION
                      EQUIPMENT, INC.
                    4100 CHESTNUT AVENUE
                    NEWPORT NEWS, VA 23607


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                    LIEBHERR-AMERICA, INC.
                      DBA LIEBHERR USA CO.
                    PO BOX 603928
                    CHARLOTTE, NC 28260


                    MACHINERY TRADER
                    PO BOX 85673
                    LINCOLN, NE 68501-5673


                    MARITAL TRUST OF GARY F. WOOD
                       AND KERRI L. WOOD
                    ATTN: KERRI L. WOOD
                    3516 NW 70TH STREET
                    SEATTLE, WA 98117


                    MORSE HYDRAULICS USA, LLC
                    7031 S 196TH STREET
                    UNIT 1-2
                    KENT, WA 98032-1160


                    NAPA - CLARK COUNTY
                      HAZEL DELL
                    FILE 56893
                    LOS ANGELES, CA 90074-6893


                    NAPA AUTO PARTS
                    FILE 56893
                    LOS ANGELES, CA 90074-6893


                    NAPA AUTO PARTS
                    2999 WILDWOOD PKWY.
                    ATLANTA, GA 30339-8580


                    PACIFIC OFFICE AUTOMATION, INC
                    1064 FOURTH AVENUE S.
                    BRANCH 85
                    SEATTLE, WA 98134


                    PACIFIC POWER GROUP, LLC
                    PO BOX 748720
                    LOS ANGELES, CA 90074-8720


                    PACIFIC POWER GROUP, LLC
                    805 BROADWAY STREET
                    SUITE 700
                    VANCOUVER, WA 98660


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                    PACIFIC POWER GROUP, LLC
                    805 BROADWAY STREET, SUITE 700
                    VANCOUVER, WA 98660


                    REDMOND HEAVY HAULING, LLC
                    PO BOX 672
                    PRINEVILLE, OR 97754


                    SIERRA SPRINGS
                    PO BOX 660579
                    DALLAS, TX 75266


                    SUTTON TRUCKING
                    ATTN: MIKE HARFORD
                    24300 PACIFIC HWY. S.
                    KENT, WA 98032


                    SUTTON TRUCKING LLC
                    24300 PACIFIC HWY. S.
                    KENT, WA 98032


                    SUTTON TRUCKING LLC
                    24001 NE SANDY BLVD.
                    WOOD VILLAGE, OR 97060


                    TACOMA DIESEL & EQUIPMENT, INC
                    444 54TH AVENUE E.
                    FIFE, WA 98424-2722


                    THINK BYG LLC
                    2028 EAST BEN WHITE BLVD.
                    SUITE 240-3575
                    AUSTIN, TX 78741


                    TLC TOWING & RECOVERY, INC.
                    4545 S. 11TH WAY
                    RIDGEFIELD, WA 98642


                    W. W. GRAINGER, INC.
                    221 BOLIVAR STREET
                    JEFFERSON CITY, MO 65101


                    W. W. GRAINGER, INC.
                    100 GRAINGER PARKWAY
                    LAKE FOREST, IL 60045


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                    WACKER NEUSON FINANCE
                    PO BOX 609
                    CEDAR RAPIDS, IA 52406


                    WACKER NEUSON FINANCE
                    C/O CORPORATION SERVICE CO.
                    211 E. 7TH STREET
                    SUITE 620
                    AUSTIN, TX 78701-3136


                    WASTE CONNECTIONS OF WA
                    VANCOUVER DISTRICT #2010
                    PO BOX 7428
                    PASADENA, CA 91109-7428


                    WINKLE INDUSTRIES
                    2080 WEST MAIN STREET
                    ALLIANCE, OH 44601


                    XTREME PRESSURE WASH
                    5600 MOUNT SOLO RD.
                    UNIT 52
                    LONGVIEW, WA 98632


                    ZF SERVICES, LLC
                    777 HICKORY HILL DRIVE
                    VERNON HILLS, IL 60061




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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Ameridian Industries LLC                                                                        Case No.
                                                                                   Debtor(s)                Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Ameridian Industries LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 AVRO LLC
 Attn: Mr. Van Ruiter
 18060 Des Moines Memorial Dr S
 Seattle, WA 98148-1950
 Brennan Family Investment LLC
 Attn: Mr. Carey M. Brennan
 10205 NE 60th Street
 Kirkland, WA 98033
 Irish Inc.
 Attn: Mr. Jim Irish
 18060 Des Moines Memorial Dr S
 Seattle, WA 98148-1950




    None [Check if applicable]




 October 8, 2020                                                       /s/ Armand J. Kornfeld
 Date                                                                  Armand J. Kornfeld
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Ameridian Industries LLC
                                                                       Bush Kornfeld LLP
                                                                       601 Union St., Suite 5000
                                                                       Seattle, WA 98101-2373
                                                                       (206) 292-2110 Fax:(206) 292-2104
                                                                       jkornfeld@bskd.com




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